Case 1:19-cv-02323-DLF Do

Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

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UNITED STATES DISTRICT COURT

for the

District of Columbia

Civil Division

Case: 1:19-cv—02323 JURY DEMAND

 

) Assigned To : Unassigned
Kevin Ajenifuja ) Assign. Date : 8/2/2019
- — ) Description: PRO SE GEN CIV (F-DECK)
Plaintiff(s) )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) [X] Yes LJ No
please write “see attached”’ in the space and attach an additional )
page with the full list of names.) )
-jy- )
Aliko Dangote
Oscar Onyema
The Nigerian Stock Exchange )
The World Bank Group
Defendant(s) )
(Write the full name of each defendant who is being sued. If the )
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)
COMPLAINT FOR A CIVIL CASE
1. The Parties to This Complaint
A. The Plaintiff(s)
Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.
Name Kevin Ajenifuja - -
Street Address 5226 Klingle Street NW - -
City and County Washington
State and Zip Code DC 20016 _
Telephone Number 202-596-9701 -
E-mail Address kajenifuja@yahoo,com
B. The Defendant(s)

Provide the information below for each defendant named in the complaint. whether FOEIVE an

individual, a government agency, an organization, or a corporation. For an individu
include the person's job or title (ifinown). Attach additional pages if needed.

AGE? 019

Clerk, U.S. District and
Bankruptcy Coyts or 5
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Defendant No. 1
Name
Job or Title “fkmown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Aliko Dangote

‘| Alfred Rewane Road, PMB 40032
Falomo Ikoyi
Lagos, Nigeria
++234,1.448,0815

aliko.dangote@dangote.com

The Nigerian Stock Exchange

 

Council Secretary

 

2-4 Custom Street
Lagos Island

 

Lagos, Nigeria /
+234.700.225.5673

 

tawe(@nse.com.ng

Oscar Onyema

 

 

401 East 34" Street, Apt. South 34C
New York

NY 10016
+1.917.334.6354

oonyema@nigerianstockexchange.com

 

 

The World Bank Group
General Counsel

1818 H Street NW
Washington
DC 20433
+1.202.473.1000

sandie.okoro@worldbank.org

 

 

 
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Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
XX] Federal question XX] Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A, If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

18 U.S. Code § 1836. The Defend Trade Secrets Act of 2016 (DTSA)
18 U.S. Code §§ 1831-39. The Economic Espionage Act

18 U.S. Code §§ 2311-33. The National Stolen Property Act

18 U.S. Code § 1951. Interference with commerce by threats or violence
18 U.S. Code § 241. Conspiracy against rights

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)
a. If the plaintiff is an individual
The plaintiff, (ame) Kevin Ajenifuja , 1s a citizen of the

State of (name) District of Columbia

b. If the plaintiff is a corporation
The plaintiff, (ame) , 1S incorporated

under the laws of the State of (name)

and has its principal place of business in the State of (name)

 

(If more than one plaintiffis named in the complaint, attach an additional page providing the
same information for each additional plaintiff)

2. The Defendant(s)
a, If the defendant is an individual
The defendant, (name) Aliko Dangote , 18 a citizen of
the State of (name) . Or is a citizen of

(foreign nation) Nigeria

 

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IE.

IV.

 

b. If the defendant is a corporation
The defendant, (name) The Nigerian Stock Exchange , Is incorporated under
the laws of the State of #zame) , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (foreign nation) Nigeria

and has its principal place of business in (name) Nigeria

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

The value of the trade secrets stolen from the plaintiff exceed $1 billion.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what cach defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

On or about August 6, 2014, employees of the World Bank Group, working in concert with Anita U. Koepcke,
conspired with Aliko Dangote and Oscar Onyema of the Nigerian Stock Exchange to steal plaintiff trade secrets
from his home in Washington, DC. Anita U. Koepcke, plaintiff's wife at the time, delivered the said trade secrets
to the defendants. The Nigerian Stock Exchange took the trade secrets to Morgan Stanley Capital International
in New York City for development.(See attachment 1). Plaintiff determined the identity of the defendants around
December 2016.

The plaintiff's rights were violated and his life put on a death spiral. Plaintiff lost his high paying job, restraining
order was obtained against him based on false allegations, and his business registration with U.S. Securities and
Exchange Commission was put in jeopardy based on false allegations.

 

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

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The plaintiff seeks actual damages in the amount of $5 billion and punitive damages in the amount of $5 billion.
The actual damages represent the economic value of the trade secrets stolen from the plaintiff, while the punitive
damages serve as a deterrent.

V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule I1.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 08/02/2019

Signature of Plaintiff <u a

Printed Name of Plaintiff . Kevin Ajeniful a
B. For Attorneys

Date of signing:

Signature of Attomey
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

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CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing

Complaint for a Civil Case was served by first-class mail, postage prepaid, on

the 2nd day of Argus , 20.19, upon:

Aliko Dangote

1 Alfred Rewane Road, PMB 40032
Falomo Ikoyi, Lagos

Nigeria

The Nigeria Stock Exchange
Council Secretary

2 - 4 Custom Street

Lagos Island, Lagos

Nigeria

Oscar Onyema
401 East 34st Street, Apt South 34C
New York, NY 10016

The World Bank Group
General Counsel

1818 H Street NW
Washington, DC 20433

 

 

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Kevin Ajenifuja
